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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


ROBERT (BOB) ROSS                                    §
                                                     §
VS.                                                  §          ACTION NO. 4:22-CV-343-Y
                                                     §       (Consolidated w/4:22-CV-430-Y)
ASSOCIATION OF PROFESSIONAL                          §
FLIGHT ATTENDANTS, ET AL.                            §
                                                     §
AND                                                  §
                                                     §
EUGENIO VARGAS                                       §
                                                     §
VS.                                                  §
                                                     §
ASSOCIATION OF PROFESSIONAL                          §
FLIGHT ATTENDANTS, ET AL.                            §

   ORDER DENYING PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT
        Pending before the Court is Plaintiffs' Motion for Partial

Summary Judgment (doc. 237). After review of the motion, the Court

concludes that it should be, and it is hereby, DENIED due to

Plaintiffs' failure to comply with the rules and requirements of this

Court.

        Initially, the Court notes that Plaintiffs have wholly failed

to identify in their brief the parties' live pleadings, as required
by the section on "Summary-Judgment Procedures" contained in this

Court's Order to Submit Joint Status Report and Proposed Discovery

Plan (doc. 26).1 More problematic, however, are Plaintiffs' citations

to their four-volume, 949-page appendix in support of their motion.


        1
       That order required, specifically with regard to summary-judgment
motions, that "[t]he party moving for summary judgment must identify, in a
separate section at the beginning of his brief, by name of pleading, date
filed, and document number on the Court's docket, the live pleadings for each
party who has appeared in the action." (Order to Submit Joint Status Report
and Proposed Discovery Plan (doc. 26) 7, ¶ 5(b).)
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The Court's local rules require that "[w]hen citing materials in the

record, as required by Fed. R. Civ. P. 56(c)(1)(A) or (B), a party

must support each assertion by citing each relevant page of its own

or the opposing party's appendix."                           N.D. TEX. CIV. R. 56.5(c); see

also FED. R. CIV. P. 56(c)(1)(A) (requiring citation to "particular

parts of materials in the record").                             Instead of citing to the

particular page where evidence in support of a proposition stated

in their brief can be found, Plaintiffs cite to the entirety of multi-

page documents, wholly failing to include pinpoint citations to

particular pages and paragraphs on those pages.2                                Instead of

underlining, highlighting, or bracketing particular relevant portions

of the Plaintiffs' affidavits, as required by this Court's prior

order, Plaintiffs have bracketed the entirety of every page of the

affidavits.3

        Most troubling, however, both to the Court and for Plaintiffs'

counsel, is the fact that often, when the Court has taken the time

to review the entirety of a cited document, it simply does not support

the proposition in the brief to which it is appended. For example,
Plaintiffs contend that "[t]he LUS group seeks a merger of the two

unions" and cite "App., pp. 286-292, 386-96" in support.                             (Pls.'


        2
       See, by way of example only, Plaintiffs' brief in support of their
motion (doc. 238) at 2-3 (citing "App., pp. 286-292, 386-396"; "App., pp. 397-
408"; "App., pp. 42-51; 410-11"). While the latter group of pages cited does
include support for the statement to which it is appended (that "[o]n April 2,
2016, . . . Melissa Chinery-Burns . . . pledged to remove Ross from office"),
the pinpoint citation should have been to the page on which the evidence in
support of that statement could be found (i.e. to pages 46 and 410), rather
than to the entirety of the documents.
        3
       See, for example, the affidavits of plaintiff Vargas, (Pls.' App. (doc.
239-6) 286-292), and of plaintiff Ross, (Id. at 386-396). Every page except
the first and last (signature page) of each affidavit is completely bracketed.
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Br. (doc. 238) 2.) Those pages make up the entirety of both Vargas's

and Ross's affidavits, and no pinpoint citation is provided to

particular pages of either affidavit where support for that contention

is located. This is likely because, after review of both affidavits,

the Court finds no evidentiary support for the statement in either

affidavit.         Similarly, Plaintiffs' brief contends that "[t]he LAA

flight attendants seek to maintain APFA's independence," citing those

same two affidavits as evidence in support.                    (Pls.' Br. (doc. 238)

2.)     Again, the Court discerns no evidentiary support in either

affidavit for that particular statement. Plaintiffs further contend

that "[u]pon entering office, Ross' first speech addressed his goals

during his term" and cite "App., pp. 386-396" in support of that

proposition.            (Pls.' Resp. Br. (doc. 238) 3.) Those pages of

Plaintiffs' appendix make up the entirety of Ross's affidavit. The

Court has thoroughly reviewed the affidavit, however, and nowhere

in it does Ross discuss either his "first speech" or "his goals during

his term." The next sentence of the brief states that "[Ross] planned

to clean up APFA finances, unify the membership, and would not

consider a merger at the time," again citing to "App., pp. 286-292,

386-396" in support. (Pls.' Resp. Br. (doc. 238) 3.) Unsurprisingly,

Vargas's affidavit says absolutely nothing about Ross's plans for

his term as union president.                      But neither does Ross's affidavit.

Instead, at most, Ross's affidavit merely supports the latter

contention for which it is cited, which is that he opposed a merger

of the unions.            (Pls.' App. (doc. 239-6) 387, ¶¶ 5, 7.)

        Similarly, Plaintiffs' brief contends that "Melissa Chinery-

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Burns, the charging party representing the union in all three Ross

Administration Disciplinary Arbitrations, maintains a social media

group site which she uses to mobilize the LUS flight attendants" and

again cites the entirety of the Vargas and Ross affidavits in support

at "App. 286-292, 386-396."                     (Pls.' Resp. Br. (doc. 238) 4.)     The

Court has reviewed those affidavits and finds no evidentiary support

for that statement therein.                       Plaintiffs' brief then states that

"Chinery began her 'red wagon' campaign to gather the signatures

required to force Ross's removal from office," again citing the

entirety of Plaintiffs' affidavits in support at "App., pp. 286-292,

386-396." (Pls.' Rsp. Br. (doc. 238) 4.) And as has become pattern,

the Court again discerns no evidentiary support for that statement

in those documents.

        These are only a few examples from the first four pages of

Plaintiffs' response brief. The Court has never experienced a summary-

judgment brief so replete with inaccurate and wholly fabricated

citations to the evidence contained in its appendix.                       This Court

simply does not have the luxury of sufficient time to allow it to

search through all of Plaintiffs' 949 pages of evidence and do their

counsel's work for them, while forcing its many other pending cases

to sit unattended. Because of Plaintiffs' failure to comply with the

rules and orders of this Court regarding their summary-judgment

motion, that motion is denied.

        The Court notes that Plaintiffs' counsel has already been

sanctioned by the magistrate judge for her conduct during discovery.

(Order Gr. Defs.' Mot. for Sanctions (doc. 219) 9-24.) Plaintiffs'

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counsel is warned that continued refusal to abide by this Court's

rules and orders, and particularly by continuing to misrepresent the

record evidence, will result in the imposition of appropriate

sanctions, which could include being barred from future practice in

this district.

        Therefore, Plaintiffs' counsel, Kerri Phillips, State Bar of

Texas license number 24065906, is hereby ADMONISHED that continued

failure to follow the rules and orders of this Court and to comply

with the standards for attorney conduct set out in Dondi Properties

Corp. v. Commerce Savings & Loan Assoc., 121 F.R.D. 284 (N.D. Tex.

1988) (en banc), will result in this Court's issuance of an order

to show cause as to why she should not be suspended or disbarred

entirely from practice before this Court.

        SIGNED August 29, 2024.


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                                                  TERRY R. MEANS
                                                  UNITED STATES DISTRICT JUDGE




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